                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   IMPLICIT, LLC,
        Plaintiff,
                                                       Case No. 2:19-cv-00040-JRG-RSP
   v.                                                  LEAD CASE
   IMPERVA, INC.
        Defendant.

   v.
                                                       Case No. 2:19-cv-00038-JRG-RSP
  CA, Inc.
         Defendant.



                                         ORDER

      Having considered Plaintiff Implicit, LLC’s, and Defendant CA, Inc.’s Joint Motion to
  .
Dismiss Pursuant to Rule 41(a)(2) (Dkt. No. 57), the Court GRANTS the Joint Motion. It

is therefore ORDERED that all currently pending claims and counterclaims in Case

No.      2:19-cv-00038    are   DISMISSED     WITHOUT PREJUDICE. It is further

ORDERED that each party shall pay its own costs, expenses, and fees. The Clerk is directed

to close the member case 2:19-cv-00038, but the lead case 2:19-cv-00040 should remain

open.

        So ORDERED and SIGNED this 27th day of June, 2019.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE
